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     Attorney for Defendant, EDUARDO AUGUSTINE VAZQUEZ
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6
                                         UNITED STATES DISTRICT COURT
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8                                       EASTERN DISTRICT OF CALIFORNIA

9                                                        *****
10                                      )
     UNITED STATES OF AMERICA,          ) CASE NO. 10-71 AWI
11                                      )
         Plaintiff,                     ) STIPULATION TO CONTINUE
12                                      ) SENTENCING HEARING; ORDER
     vs.                                )
13                                      ) SCHED. DATE: September 27, 2010
14
     EDUARDO AUGUSTINE VAZQUEZ, et al., ) REQT. DATE: October 12, 2010
                                        )
          Defendant.                    ) TIME: 9:00 A.M.
15                                      ) JUDGE: Hon. Anthony W. Ishii
     _________________________________________________
16            IT IS HEREBY STIPULATED between the parties, by and through counsel for the
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     government, Kathleen Servatius, and Joan Jacobs Levie, counsel for Defendant EDUARDO
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     AUGUSTINE VAZQUEZ, that the date for the sentencing hearing, September 27, 2010 at 9:00 a.m.
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     be continued until October 12, 2010 at 9:00 a.m in the above-entitled court. The continuance is to

21   allow the parties to perfect the terms and conditions of the anticipated government sentencing
22   recommendation to the satisfaction of the parties.
23
     Dated: September 23, 2010                           Respectfully submitted,
24
                                                          /S/ Joan Jacobs Levie
25                                                       JOAN JACOBS LEVIE
                                                          Attorney for Defendant
26                                                            TINA PEREZ
27
                                                          /S/ Kathleen Servatius
28                                                       KATHLEEN SERVATIUS
                                                         Assistant United States Attorney
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                           Case 1:10-cr-00071-DAD Document 70 Filed 09/24/10 Page 2 of 2



1                                                                *****
2
                                                                    ORDER
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                               Having read the stipulation of counsel and finding good cause,
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                               IT IS HEREBY ORDERED that the date of the sentencing hearing will be continued in
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     accordance with the above stipulation of counsel. The defendant is ordered to return to court for
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7    further proceedings on October 12, 2010 at 9:00 a.m.

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11   IT IS SO ORDERED.
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     Dated:                     September 23, 2010
13   DEAC_Signature-END:
                                                            CHIEF UNITED STATES DISTRICT JUDGE

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